                            IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
                                  Case No.: 7:13-cv-145-F

LISA COOPER,                                     )
                                                 )
                                                 )
                     Plaintiff,                  )           MEMORANDUM OF LAW IN REPLY
                                                 )           TO PLAINTIFF’S MEMORANDUM IN
v.                                               )       OPPOSITION TO DEFENDANT’S MOTION FOR
                                                 )                SUMMARY JUDGMENT
                                                 )
                                                 )                 Fed. R. Civ. P. 56 and Local Civil
                                                 )                      Rules 7.1. 7.2 and 56.1
THE SMITHFIELD PACKING                           )
COMPANY, INC.,                                   )
                                                 )
                     Defendant.                  )

        Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Civil Rules 7.1 and 7.2,

Defendant Smithfield Farmland Corp. (“Smithfield” or the “Company”), by counsel, submits this

memorandum of law in reply to Plaintiff’s Memorandum in Opposition to Defendant’s Motion for

Summary Judgement (“Plaintiff’s Response”). (Doc. 52).

        Plaintiff’s Response is unsurprising given her failure to develop an evidentiary record during

discovery. Armed with insufficient record evidence to survive summary judgment, Plaintiff engages in an

eleventh-hour attempt to create one. The centerpiece of her Response is a post-discovery declaration

(“Cooper’s Declaration”) that is a transparent attempt to create disputes of fact where none exist. (Doc.

54-1, Pl. Appx. A). The probative value of any post-discovery affidavit is dubious at best.       See e.g.,

Wright, Federal Practice and Procedure, § 2722 at 373, 379 (3d ed. 1998) (noting that depositions are

“one of the best forms of evidence for supporting or opposing a summary-judgment motion,” and that

affidavits, not being subject to cross-examination, “are likely to be scrutinized carefully by the court to

evaluate their probative value”). By any standard, Cooper’s Declaration bears scant resemblance to what

Rule 56(c)(4) contemplates as appropriate. It is a hodgepodge of conclusory allegations parroted from her




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Fourth Amended Complaint,1 sprinkled with speculation2, hearsay3, and references to plainly inadmissible

subjects such as Lowery’s rumored past consensual romantic relationships and long-dated criminal

convictions.4

        Cooper’s Declaration, and any portion of Plaintiff’s Response relying on it, should be disregarded

by the Court. See e.g., Pledger v. Mayview Convalescent Home, Inc., 2009 U.S. Dist. LEXIS 33198, 52-

53 (E.D.N.C. Apr. 14, 2009) (finding that affidavits submitted on summary judgment containing hearsay,

conclusory statements, and ‘self-serving opinions without objective corroboration’ will not be considered

by the court”) (internal citations omitted). Moreover, the improprieties in Cooper’s Declaration corrupt

nearly every facet of the her Response.

A.      Plaintiff Advances Allegations Dismissed by the Court Because They Exceeded the Scope of
        Plaintiff’s Charge of Discrimination.

        Cooper’s Declaration repeatedly references purported threats by Lowery that he would kill her as

a result of her refusal of his purported advances or complaints to the Company. (Doc. 54-1, Pl. Appx. A,

¶¶ 8, 15, 16, 20) (emphasis added).       But the Court struck these allegations from Plaintiff’s Third

Amended Complaint for lack of subject matter jurisdiction. (Doc. 33.). The Court’s Order was clear:

“Any allegations that Lowery threatened [Plaintiff’s] life, that he was watching her on a daily basis, or

that he threatened her employment must be stricken from the [Third Amended Complaint] because they

fall outside the scope of the Charge. (Doc. 33, pp. 5-6).5 The import of this ruling is unmistakable:


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           See generally Cooper’s Declaration at ¶¶ 4-14, 17-18, 22, 24.
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           See generally Cooper’s Declaration at ¶¶ 4, 13, 16, 20, 22, 25, 26, 29-37.
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           See generally Cooper’s Declaration at ¶¶ 9, 17, 26, 31, 32.
         4
           See generally Cooper’s Declaration at ¶¶ 15, 25, 29-32, 37.
         5
           Relatedly, Plaintiff’s Response contains at least two allegations, purportedly supported by the
written statement of Monica Williams (Doc., 54-1, Pl. Appx. C), that Lowery would terminate Plaintiff’s
employment if she refused to sleep with him (Doc. 52, pp. 12, 13). Ms. Williams has since admitted that
Cooper convinced her to fabricate this claim, as well her claim that she overheard Lowery state that
“before he lose his job over any ‘bxxxx’, that he will kill them,” in return for a portion of whatever
settlement money Cooper obtains from Smithfield. (M. Williams Aff., ¶¶ 4-6, Appx. L). Plaintiff argues
the Court should not consider Williams’ retraction of her written statement since her “credibility is not to
be considered by the court in a motion for summary judgment” (Doc. 53, p. 9, fn. 3). But Williams’
retraction is sworn testimony (M. Williams Aff., ¶¶ 4-6, Appx. L), whereas her prior written statement is
unverified, unauthenticated, and blatant hearsay. More importantly, the Court cannot consider
Williams’ statements relating to Lowery’s purported threat to fire Plaintiff since it has already ruled that
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Lowery’s purported threats to kill Plaintiff cannot be considered by the Court because they are no longer

part of this case, and never should have been. Balas v. Huntington Ingalls Indus., 711 F.3d 401, 408 (4th

Cir. 2013) (“Only those discrimination claims stated in the initial charge, those reasonably related to the

original [EEOC] complaint, and those developed by reasonable investigation of the original [EEOC]

complaint may be maintained in a subsequent Title VII lawsuit.”); see also Chacko v. Patuxent Inst., 429

F.3d 505, 506 (4th Cir. 2005).

        Nevertheless, Plaintiff repeatedly cites to Lowery’s purported threats as proof that she was

subjected to “severe and pervasive” harassment. She asserts:

        The plaintiff’s evidence also shows that she was subjected to a physically threatening
        environment which ultimately interfered with her ability to work, causing her to feel
        forced to resign from her position. In fact, the plaintiff was fearful for her very life.
        Lowery threatened to kill the plaintiff if her complaints about him caused him to lose
        his job. (Doc. 52, p. 8) (emphasis added).

        In the present case, plaintiff’s letter of resignation shows that she felt forced to resign as a
        result of the intolerable work conditions that she faced because of Lowery’s harassment
        and threat to kill her. (Doc. 52, p. 9) (emphasis added).6

Plaintiff relies heavily on these allegations in attempting to impute liability to Smithfield. According to

her Response:

        The Plaintiff suffered a tangible employment action when she was forced to resign due to
        Lowery’s creation of a sexually hostile work environment, as well as his threat to kill
        her if her complaints caused him to lose his job. (Doc 52, p. 10) (emphasis added).

        Williams clearly corroborated the plaintiff’s assertions that Lowery not only sexually
        harassed her, but had also threatened to kill her. In Williams’ handwritten note dated
        July 18, 2011, Williams stated that she heard “Tommy say before he lose his job over
        any ‘bxxxx’, that he will kill them”. This is clearly supportive of the plaintiff’s
        contention that Lowery stated that he would kill her before he lost his job over her
        complaining about him subjecting her to sexual harassment. (Doc 52, p. 12) (emphasis
        added).


these allegations exceeded the scope of Plaintiff’s charge of discrimination. See Order on Motion to
Dismiss (Doc. 33, p. 5) (finding that “[a]ny allegations that Lowery threatened her life, that he was
watching her on a daily basis, or that he threatened her employment must be stricken from the TAC
because they fall outside the scope of the Charge”) (emphasis added).
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          Plaintiff’s Opposing Statement of Facts and Additional Material Facts Creating Genuine Dispute
(“Plaintiff’s SOF”) is also littered with allegations relating to these threats (See Doc. 53, ¶¶ 5, 18, 19, 29).
Those portions of Plaintiff’s SOF should be disregarded by the Court for the same reasons stated herein.

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        Clearly Pope had no intention of removing Lowery from the premises of the defendant
        company even though Pope was aware that Lowery had made a threat to kill someone in
        the workplace and had threatened to terminate the plaintiff if she didn’t have sex with
        him. (Doc. 52, p. 13) (emphasis added).

        The Court’s prior Order makes clear that these allegations are off limits. Plaintiff’s attempts to

revive them disregards the Court’s Order. The portions of Cooper’s Declaration and Response attempting

to advance (and rely on) these allegations should be excluded by the Court.

B.      Cooper’s Declaration and Plaintiff’s Response Attempt to Advance Allegations That
        Contradict Her Own Deposition Testimony and Other Prior Responses During Discovery.

        Cooper’s Declaration also contains repeated examples of allegations that contradict her prior

deposition testimony and disclosures during discovery, suggesting her Declaration is a “sham” affidavit

under Circuit precedent. See, e.g., Jackson v. Consolidation Coal Co., 21 F.3d 422 (4th Cir. 1994). As

this Court has made clear, “[i]t is well recognized that a plaintiff may not avoid summary judgment by

submitting an affidavit that conflicts with earlier deposition testimony.” Pledger v. Mayview Convalescent

Home, Inc., 2009 U.S. Dist. LEXIS 33198, 52-53 (E.D.N.C. Apr. 14, 2009) (quoting Alba v. Merrill

Lynch & Co., 198 Fed. Appx. 288, 300 (4th Cir. 2006)); see also Barwick v. Celotex Corp., 736 F.2d 946,

960 (4th Cir. 1984) (“A genuine issue of material fact is not created where the only issue of facts is to

determine which of the two conflicting versions of the plaintiff’s testimony is correct.”). Plaintiff

contradicts her prior deposition testimony repeatedly in her Declaration.

        1.      Cooper’s Declaration Alleging that She Requested a Transfer in March 2011 is
                Contradicted by Her Deposition Testimony.

        Plaintiff alleges in her declaration that “[i]n approximately March 2011, [she] requested a transfer

from Jamie Pope to another department or another city to get away from Mr. Lowery. However, [she]

was told that there were no vacancies to facilitate the transfer.” (Doc. 54-1, Pl. Appx. A, ¶ 17)(emphasis

added). At deposition, Plaintiff did testify that she asked Pope to transfer her to another facility. (Cooper

Depo., pp. 192-197, line 5, Appx. G). However, she conceded that she did not make that request until

after she complained to Pope on July 18, 2011, the day before she resigned. (Id.).




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        2.      Cooper’s Declaration Allegation that She Reported Lowery to HR Employee Lynn
                Dove in April 2011 Conflicts With Her Own Deposition Testimony and Discovery
                Responses.

        Plaintiff also alleges in her declaration that she complained about Lowery’s conduct to Tar Heel

Human Resources Manager Lynn Dove in “approximately April 2011.” (Doc 54-1, Pl. Appx. A, ¶ 18)

(emphasis added). According to Cooper’s Declaration, Plaintiff “verbally provided [Dove] with details of

the sexual harassment by Mr. Lowery against [her] so that Human Resources could conduct an

investigation,” and “provided Human Resources with names of witnesses who could support [her] claim

of sexual harassment.” (Id.). Plaintiff maintains that “[n]othing was done after [she] complained to

Dove.” (Doc. 54-1, Pl. Appx. A, ¶ 19).

        This allegation is completely at odds with Cooper’s deposition testimony which establishes that

her first (and only) complaint to Smithfield management regarding Lowery’s alleged harassment occurred

on July 18, 2011, just one day before she voluntarily resigned her employment. (Cooper Depo., pp. 186-

187, Def. Appx. G). Plaintiff’s contradictory declaration is also at odds with her initial disclosures and

other responses during discovery. Plaintiff did not identify Lynn Dove in her Rule 26(a)(1) initial

disclosures as an individual likely to have discoverable information relevant to the disputed facts in this

case. (Plaint. Initial Discl., Def. Appx. A).   Plaintiff likewise failed to identify Dove as an individual

likely to have knowledge or information relating to any of the facts or claims asserted in this action in her

responses to Smithfield’s interrogatories. (Pl. Inter. Resp., 1, Def. Appx. B). And, when asked to identify

“any internal complaint of harassment or discrimination made by you, or on your behalf” during her

employment, Plaintiff made no mention of any complaint to Dove in April 2011. Instead, she repeatedly

responded that her first and only complaint to Smithfield management occurred on July 18, 2011. (Pl.

Inter. Resp., 7, Def. Appx. B); (Pl. Suppl. Inter. Resp., 7, Def. Appx. D). She cannot change history now,

after the discovery record has closed.7


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          Plaintiff attempts to corroborate this sham declaration testimony with the declaration of former
co-worker Brandon Moore. (Doc. 54-1, Pl. Appx. B). Moore claims he “was with [Plaintiff] when she
verbally complained about Tommy and reported to Lynn Dove that she needed to get away from Tommy
because of the sexual harassment. To my knowledge, nothing was done after [Plaintiff] complained.” (Id.,

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        3.       Cooper’s Declaration Allegation that She Resigned Because Pope Ended His
                 Investigation Before Calling Her Witnesses is Contradicted by Her Deposition
                 Testimony.

        Finally, Plaintiff alleges in her declaration that “Jamie Pope essentially told me the day after I

complained about Lowery that he really could not do anything about it. He further stated that he was

ending his investigation even though he had not bothered to call all of my witnesses.” (Doc. 54-1, Pl.

Appx. A, ¶ 29) (emphasis added). She then points to Pope’s alleged comment in her Response as the

justification for her decision to resign. (Doc. 52, 9).

        Once again, these allegations plainly contradict Plaintiff’s prior deposition testimony regarding

her interactions with Pope during his investigation. When asked to recount Pope’s response to her stated

intention to resign on July 19, 2011, Plaintiff stated:

        [Pope] said it’s still being investigated. He just continued to say that, and that was it. But
        then, when I got ready to got up -- when I got ready to get up out of the chair, he said it’s
        an ongoing investigation, but they want to put Tommy on first and me on second. I said,
        I’m not going to work under those conditions.

(Cooper Depo., pp. 194-195, Def. Appx. G).

        Cooper’s deposition testimony corresponds with the undisputed record, which clearly establishes

that Pope was still investigating when Plaintiff chose to resign. (Cooper Depo., pp. 194-197, Appx. G)

(Pope Aff., ¶ 14, Appx. M). The significance of these record facts cannot be ignored. They prove both

at ¶ 15). Significantly, Moore’s Declaration was not produced by Plaintiff until August 22, 2016, after
the close of the extended discovery deadline in this case and nearly a month after it was executed by
Moore (during the extended discovery period). Plaintiff’s “eleventh-hour” production raises obvious
suspicion since it foreclosed any opportunity for Smithfield to depose Moore concerning his declaration.
And, although Plaintiff did identify Moore as a possible witness during discovery and at her deposition,
she made no mention that he had knowledge of any complaint of harassment that she purportedly made to
management, let alone to Dove. To the contrary, Plaintiff maintained during discovery that Moore’s
knowledge was limited to “the sexual comments and propositions that Lowery made to Plaintiff.” (Plaint.
Initial Discl., Def. Appx. A); (Pl. Inter. Resp., 1, Def. Appx. B). When asked at her deposition whether
Moore had any other knowledge relating to the case, Plaintiff stated “I don’t know.” (Cooper Depo., p.
188, Def. Appx. G). These facts are almost identical to those presented in Colfield v. Safeway Inc., 2016
U.S. Dist. LEXIS 42656, 17-18 (D. Md. Mar. 30, 2016). In that case, the court granted defendant’s
motion to strike a third-party affidavit offered by the plaintiff to support her discrimination claims on the
basis that the affidavit was not produced in a timely manner and contained substantive facts that exceeded
the purported scope of the affiant’s knowledge, as disclosed in the plaintiff’s interrogatory responses. For
these same reasons, the Court should disregard Moore’s affidavit in its entirety, or, at the very least, those
portions addressed in this reply.


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that the Company’s response was prompt and that it was reasonably calculated to put an end to the alleged

harassment. They also prove that Plaintiff failed to avail herself of the Company’s proposed corrective

measures.

         In closing, Plaintiff was on the horns of a dilemma: she had to decide between addressing

Smithfield’s motion on an evidentiary record that plainly suggests summary judgment is appropriate, or

attempting to evade it by fabricating new and contradictory “facts.” Plaintiff chose the latter, substituting

in her Response the portions of her own deposition testimony that discredit her claim with contradictory

declaration testimony that supports it. As the Fourth Circuit has recognized, “[i]f a party who has been

examined at length on deposition could raise an issue of fact simply by submitting an affidavit

contradicting [her] own prior testimony, this would greatly diminish the utility of summary judgment as a

procedure for screening out sham issues of fact.” Barwick v. Celotex Corp., 736 F.2d 946, 960 (4th Cir.

1984). The portions of Cooper’s Declaration described above purport to create precisely the type of self-

serving factual disputes the sham affidavit rule intends to avoid. They should be disregarded by the Court

as a result.

         The evidentiary record in this case warrants summary judgment in Smithfield’s favor.

Disregarding Plaintiff’s sham evidentiary constructs, as the Court must, what remains of Plaintiff’s claim

is simply not viable.   For the foregoing reasons, Smithfield respectfully requests that the Court grant its

Motion for Summary Judgment and enter an order dismissing Cooper’s claims with prejudice and

awarding the Company any additional relief the Court deems just and proper.

         Respectfully submitted this 14th day of October 2016.

                                                  SMITHFIELD FARMLAND CORP.

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 14 th day of October, 2016, a true and correct copy of the

foregoing was filed with the Clerk of Court using the CM/ECF system, which will send notification of

such filing to the following:

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                                                /s/ Kurt G. Larkin______________________
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